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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI                          MAR 15 2018
                                   EASTERN DIVISION                                U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF MO
                                                                                         ST.LOUIS
UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
                 v.                          )

PHILIP D. DEAN,
                                             )
                                             )
                                                      4:18CR220 ERW/DDN
                                             )
                      Defendant.             )

                                         INDICTMENT

       The Grand Jury charges that:

                                      The Defendant

       1.      At all times relevant to this Indictment, defendant Philip D. Dean was a resident

of Warren County, Missouri. Defendant was a licensed medical doctor who maintained a

medical office in Warren County, Missouri.

       2.      Defendant often treated patients for complaints of pain at his medical office.

Defendant dispensed prescription drugs that contained controlled substances to a large

percentage of his patients, including narcotic opioid pain relief drugs such as Oxycodone®,

Hydrocodone, and Duragesic® (fentanyl in a transdermal skin patch format).

       3.      Defendant also prescribed Sub sys® to some of his patients. Sub sys® contains

fentanyl, an opiate narcotic, and is an immediate release transmucosal drug provided to patients

in a spray bottle format. On July 29, 2014, Dr. Dean signed a form that enabled him to prescribe

Subsys®, and as part of that form certified that he understood that Subsys® was only indicated

for the management of break-through pain for patients with cancer.
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       4.      Defendant had personal relationships with several women, including R.W., C.H.,

and L.R. For some time periods, defendant lived with R.W., C.H., and L.R. While engaging in

these personal relationships, defendant also prescribed drugs containing controlled substances to

these three women, including Oxycodone®, Hydrocodone, Adderall®, Duragesic®, Subsys®,

and Codeine. Defendant's medical files for these three women are incomplete and inaccurate.

       5.      Regarding R.W., defendant employed her in his medical office, and also paid her

bail and some other expenses related to driving while intoxicated criminal cases that were

brought against her. R.W. has a history of substance abuse problems, including a July 18, 2015

hospital admission related to substance abuse. R.W. is related to E.W., and defendant wrote

some controlled substance prescriptions for R.W. using E.W. 's name. Defendant repeatedly paid

for the "co-payment" amounts at pharmacies for some of the controlled substance prescriptions

that he wrote for R.W. in her own name or in E.W. 's name, and he sometimes personally picked

up these drugs from the pharmacy for R.W. R.W. does not have cancer, but Dr. Dean repeatedly

prescribed Subsys® to her, causing Medicaid to pay approximately $213,000 for this improperly

prescribed Subsys®.

       6.      Regarding C.H., defendant exchanged text and Facebook messages with her,

including some with sexual content regarding underwear and photographs, during the same time

periods that he was prescribing controlled substances to her. One of his medical "examinations"

of C.H. occurred at a restaurant in Kansas City, Missouri.

       7.      Regarding L.R., defendant employed her for various jobs, and paid bail expenses

for her in a criminal case that was pending against her.




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                                Health Care Benefit Programs

       8.      The Medicare program and the Missouri Medicaid program are federally-funded

health care benefits programs within the meaning of 18 U.S.C. § 24(b). Medicare and Missouri

Medicaid are public plans that affect commerce under which medical benefits, items, and

services are provided to elderly and low-income individuals.

               Counts 1-4 - False Statements to Health Care Benefit Program

       9.      Paragraphs 1 through 8 are incorporated by reference, as if fully set forth herein.

       10.     On or about the dates indicated below, in Warren County, Missouri, in the Eastern

Division of the Eastern District of Missouri, and elsewhere,

                                       PHILIP D. DEAN,

the defendant herein, knowingly and willfully made and used materially false writings and

documents, knowing the same to contain materially false, fictitious, and fraudulent statements

and entries, in connection with the delivery of and payment for health care benefits, items, and

services involving health care benefit programs as defined in 18 U.S.C. § 24(b), in violation of

18 U.S.C. § 1035, in that the defendant falsely stated and represented in prescriptions that he was

prescribing drugs to E.W. on or about certain dates, when the defendant then and there well

knew said statements and representations were false, fictitious, and fraudulent, as the drugs were

intended for and ultimately consumed by R.W.

 COUNT DATE OF                    DRUG                    PRESCRIBED          HEALTHCARE
       OFFENSE                                            FOR                 BENEFIT
                                                                              PROGRAM
 1           January 13, 2016     Hydrocodone with        E.W.                Medicare
                                  Acetaminophen 10-
                                  325
 2           February 9, 2016     Oxycodone HCL 20        E.W.                Medicare
                                  mg




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 3           February 21, 2016    Hydrocodone with          E.W.              Medicare
                                  Acetaminophen 10-
                                  325
 4           March 7, 2016        Oxycodone HCL 20          E.W.              Medicare
                                  mg

     All in violation of Title 18, United States Code, Sections 1035(a)(2) and 2.

                                          COUNTS
                Distribution of drugs without a legitimate medical purpose
                            (21 U.S.C. §§ 841(a)(l) and (b)(l)(C))

       11.     The United States adopts paragraphs 1-8 and as for paragraph 11.

       12.     On or about July 22, 2015, in Warren County, within the Eastern Division of the

Eastern District of Missouri and elsewhere, the defendant, Philip D. Dean, did knowingly,

intentionally, and unlawfully distribute and dispense Subsys®, a Schedule II controlled

substance that contains fentanyl, outside the scope of professional practice and not for a

legitimate medical purpose, to a patient with the initials R.W., in violation of21 U.S.C.

§ 841(a)(l), 21 U.S.C. § 841(b)(l)(C), and 18 U.S.C. § 2.

                                          COUNT6
               Distribution of drugs without a legitimate medical purpose
                            (21 U.S.C. §§ 841(a)(l) and (b)(l)(C))

       13.     The United States adopts paragraphs 1-8 and as for paragraph 13.

       14.     On or about February 21, 2016, in Warren County, within the Eastern Division of

the Eastern District of Missouri and elsewhere, the defendant, Philip D. Dean, did knowingly,

intentionally, and unlawfully distribute and dispense Hydrocodone, a Schedule II controlled

substance, outside the scope of professional practice and not for a legitimate medical purpose, to

a patient with the initials R.W., in violation of21 U.S.C. § 84l(a)(l), 21 U.S.C. § 841(b)(l)(C),

and 18 U.S.C. § 2.




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                                          COUNT7
               Distribution of drugs without a legitimate medical purpose
                            (21 U.S.C. §§ 841(a)(l) and (b)(l)(C))

        15.    The United States adopts paragraphs 1-8 and' as for paragraph 15.

        16.    On or about March 31, 2017, in Warren County, within the Eastern Division of

the Eastern District of Missouri and elsewhere, the defendant, Philip D. Dean, did knowingly,

intentionally, and unlawfully distribute and dispense Codeine, a Schedule III controlled

substance, outside the scope of professional practice and not for a legitimate medical purpose, to

a patient with the initials C.H., in violation of 21 U.S.C. § 841(a)(l),

21 U.S.C. § 841(b)(l)(E)(2), and 18 U.S.C. § 2.

                                          COUNTS
               Distribution of drugs without a legitimate medical purpose
                            (21 U.S.C. §§ 841(a)(l) and (b)(l)(C))

        17.    The United States adopts paragraphs 1-8 and as for paragraph 17.

       18.     On or about July 26, 2017, in Warren County, within the Eastern Division of the

Eastern District of Missouri and elsewhere, the defendant, Philip D. Dean, did knowingly,

intentionally, and unlawfully distribute and dispense Lorazepam (sometimes marketed as

Ativan®), a Schedule IV controlled substance, outside the scope of professional practice and not

for a legitimate medical purpose, to a patient with the initials L.R., in violation of21 U.S.C. §

841(a)(l), 21 U.S.C. § 841(b)(l)(E)(2), and 18 U.S.C. § 2.

                                               A TRUE BILL.


                                               FOREPERSON
JEFFREY B. JENSEN
United States Attorney


Andrew J. Lay #39937MO
Assistant United States Attorney


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